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                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF ALABAMA
                             MIDDLE DIVISION


MARK DUKE, et al.,

                     Plaintiffs;          Civil No. 4:14-cv-01952-RDP
         v.

JOHN HAMM, et al.,

                     Defendants.


              STATEMENT OF INTEREST OF THE UNITED STATES
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                            INTEREST OF THE UNITED STATES

        Prison officials are not free to let violence run rampant—assault and abuse are not part of

the penalty prisoners pay for their crimes. The Eighth Amendment requires basic decency in

prohibiting cruel and unusual punishment. Plaintiffs allege disturbing conditions at St. Clair

Correctional Facility (“St. Clair”), including pervasive violence, sexual abuse, and use of

excessive force by correctional officers. They also allege Defendants have disregarded measures

that could mitigate these harms. Defendants argue that because they have made some efforts,

there is no valid constitutional claim before this Court, even as they acknowledge that their

efforts have been insufficient to address the pervasive serious harm. But the Constitution holds

Defendants accountable for maintaining basic standards of decency, including providing a

reasonably safe environment for the men in their custody at St. Clair. Knowingly inadequate

measures do not satisfy this obligation.

        The United States respectfully submits this Statement of Interest pursuant to 28 U.S.C.

§ 517, which authorizes the Attorney General “to attend to the interests of the United States in a

suit pending in a court of the United States.” This case addresses important principles regarding

the constitutional requirement that prisons protect prisoners from a substantial risk of serious

harm.

        Congress has explicitly vested the Attorney General with authority to enforce the Civil

Rights of Institutionalized Persons Act (“CRIPA”), 42 U.S.C. § 1997 et seq., to address

unconstitutional conditions of confinement in state and local correctional facilities. Under this

authority, the United States has undertaken numerous investigations and cases across the country

regarding conditions of confinement, including litigation pending before this Court against the

Alabama Department of Corrections (“ADOC”) and State of Alabama over conditions in 13


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men’s prisons, including the facility at issue in this case. 1 See United States v. State of Alabama,

No. 2:20-cv-01971-RDP (N.D. Ala.).

         The United States has a substantial interest in protecting the constitutional rights of all

people, including prisoners, and ensuring the proper application of the legal standards grounded

in the Eighth Amendment. The United States expresses no view on any factual disputes before

the Court, nor on any legal questions other than those discussed below. 2


                                                BACKGROUND

         Plaintiffs, a group of men incarcerated or formerly incarcerated in Alabama, 3 allege

Defendants, certain ADOC officials, fail to protect prisoners in St. Clair from violence, sexual

abuse, and use of excessive force in violation of the Eighth Amendment. Fourth Amended and

Supplemental Complaint (Doc. 268). Defendants move for summary judgment, arguing there is

no genuine dispute as to any material fact on Plaintiffs’ claims. ADOC Officials’ Motion for

Summary Judgment (“Defendants’ Motion”) (Doc. 448). 4

         Plaintiffs allege that prisoner-on-prisoner violence and sexual assault are commonplace at

St. Clair. Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion for Class

Certification (“Plaintiffs’ Motion”) (Doc. 457, p. 5). They allege frequent violent incidents,

including attacks with weapons and ones resulting in outside hospitalization. Id. at 5–6. They



1
  The United States notes Defendants’ admission that the United States’ CRIPA action is a proper avenue for
addressing claims that ADOC fails to protect prisoners from harm. ADOC Officials’ Motion for Summary
Judgment (Doc. 448, p. 44).
2
  The United States does not address all of Defendants’ arguments, as several relate specifically to Plaintiffs’ status
as a potential class. See ADOC Officials’ Motion for Summary Judgment (Doc. 448, pp. 31–33, 41–44).
3
  Plaintiffs have moved the Court to certify a class of persons who are now, or will be, incarcerated at St. Clair.
Plaintiffs’ Motion for Class Certification (Doc. 417).
4
  Defendants also argue that the Braggs class action against ADOC precludes Plaintiffs from seeking relief related to
correctional staffing here. Defendants’ Motion (Doc. 448, pp. 44–45). As Defendants acknowledge, the Court has
already rejected this argument in both this case (Doc. 261, p. 3), and the United States’ case against ADOC, United
States v. Alabama, No. 2:20-cv-1971 (N.D. Ala.) (Doc. 57, pp. 5–7). The Court has correctly determined that both
cases seek relief that is different from that sought in Braggs. The Court should, again, reject Defendants’ argument.

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allege sexual assaults occur across St. Clair, in every cell block and common area, routinely at

knifepoint or by multiple assailants. Id. at 6–7. They also allege that St. Clair correctional

officers regularly use excessive force, teaming up on a single prisoner, attacking prisoners who

are already restrained, and using chemical spray on prisoners who do not pose a threat. Id. at

12–13. Plaintiffs allege Defendants know how to make St. Clair safer. Id. at 2, 13–15. But

Plaintiffs contend that violence is pervasive at St. Clair because Defendants will not change

dangerous and harmful practices such as: allowing prisoners to move around St. Clair without

authorization; failing to repair various security tools; providing inadequate training; assigning

prisoners to housing areas without appropriate risk screening; using ineffective search practices;

failing to implement an effective staffing plan; and conducting inadequate investigations. Id. at

1, 7–15.

          If there is a genuine dispute of fact as to Plaintiffs’ allegations, then summary judgment

for Defendants is inappropriate, as these allegations, if proven, establish Eighth Amendment

violations. See Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248–55

(1986).


                                            DISCUSSION

          The Constitution prohibits cruel and unusual punishment. U.S. Const. amend. VIII.

Under the Eighth Amendment, prison officials “must provide humane conditions of confinement;

prison officials must ensure that inmates receive adequate food, clothing, shelter, and medical

care, and must ‘take reasonable measures to guarantee the safety of the inmates.’” Farmer v.

Brennan, 511 U.S. 825, 832 (1994) (quoting Hudson v. Palmer, 468 U.S. 517, 526–27 (1984)).

This includes a duty to protect prisoners from excessive force by correctional officers and

violence by other prisoners. Id. at 832–33. Prison officials violate the Eighth Amendment when


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they are deliberately indifferent to a substantial risk of serious harm to the prisoners in their

custody. Id. at 828.

       Here, Plaintiffs have alleged facts that show both a substantial risk of serious harm to

prisoners at St. Clair and Defendants’ deliberate indifference to that risk.


          I.   Prisons with high levels of violence and terror pose a substantial risk of
               serious harm to prisoners.


       The Supreme Court has long held that prison officials have a duty to protect prisoners

from harm, whether from other prisoners or correctional staff. Farmer, 511 U.S. at 832-833.

“Being violently assaulted in prison is simply not ‘part of the penalty that criminal offenders pay

for their offenses against society.’” Id. at 834 (quoting Rhodes v. Chapman, 452 U.S. 337, 347

(1981)). Regardless of whether prisoners have contributed to such violence, prison officials “are

not free to let the state of nature take its course” and “gratuitously allow[] the beating or rape of

one prisoner by another.” Id. at 833; see also Hudson, 468 U.S. at 526–27 (“Within this volatile

‘community,’ prison administrators . . . are under an obligation to take reasonable measures to

guarantee the safety of the inmates themselves.”). Rather, “the protection [a prisoner] is afforded

against other inmates” is a condition of confinement that is subject to the Eighth Amendment.

Wilson v. Seiter, 501 U.S. 294, 303 (1991). Prison conditions that expose prisoners to a

substantial risk of serious harm deny “‘the minimal civilized measure of life’s necessities,’”

Farmer, 511 U.S. at 834 (quoting Rhodes, 452 U.S. at 347), in violation of the Eighth

Amendment.

       In analyzing whether allegedly violent conditions present a substantial risk of serious

harm, courts in the Eleventh Circuit look to evidence that prisoners are subject to an “unjustified

constant and unreasonable exposure to violence.” LaMarca v. Turner, 995 F.2d 1526, 1535

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(11th Cir. 1993). Courts distinguish cases involving “occasional, isolated attacks by one prisoner

on another,” from those where “violence and terror reign.” Marbury v. Warden, 936 F.3d 1227,

1234 (11th Cir. 2019) (quoting Purcell v. Toombs Cnty., Ga., 400 F.3d 1313, 1320 (11th Cir.

2005)). Alongside examining the number of violent incidents, courts assess whether there are

specific features or conditions at the facility that make it particularly violent, which can include

“pervasive staffing and logistical issues rendering prison officials unable to address near-

constant violence, tensions between different subsets of a prison population, and unique risks

posed by individual prisoners or groups of prisoners due to characteristics like mental illness.”

Id. at 1235.

         Eleventh Circuit cases illustrate this approach for determining a substantial risk of harm.

In Hale v. Tallapoosa County, 50 F.3d 1579 (11th Cir. 1995), 5 the Eleventh Circuit held that a

reasonable jury could find an unconstitutional risk of harm where overcrowding perpetuated

regular prisoner-on-prisoner violence “severe enough to require medical attention and even

hospitalization on occasion.” Id. at 1583. Similarly, the Eleventh Circuit in Cotton v. Cooper,

No. 22-12927, 2024 WL 340033 (11th Cir. Jan. 30, 2024), held that a reasonable jury could find

an “excessive risk of prisoner-on-prisoner violence” where the plaintiff personally “witnessed

multiple incidents of beatings, stabbings, and rape,” and the facility’s “violent and unsafe

conditions” were enabled by understaffing, overcrowding, widespread access to weapons, and

inadequate supervision. Id. at *2 (reversing summary judgment to the defendants when the

plaintiff described ADOC’s Ventress Correctional Facility as an “environment where the strong

preyed on the weak with impunity, leaving him ‘in fear of [his] life every day’”); see also Lane



5
 While this case involved a pretrial detainee, the Eleventh Circuit evaluated his claims under the Eighth
Amendment. See Hale v. Tallapoosa Cnty., 50 F.3d 1579, 1582 & n.4 (11th Cir. 1995).

                                                          5
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v. Philbin, 835 F.3d 1302, 1307–08 (11th Cir. 2016) (reversing dismissal of a complaint where

allegations of beatings, high gang participation, widespread possession of weapons, and

understaffing at a Georgia state prison permitted the reasonable inference that “violence and

terror were the norm”); Boykins v. Dunn, --- F. Supp. 3d ----, No. 4:19-cv-01934, 2023 WL

6379601, at *14–15 (N.D. Ala. Sept. 30, 2023) (denying summary judgment where “[i]nmate-

made weapons and other contraband like cellphones permeate St. Clair” and “[t]he frequency

and severity of violence is staggering”).

       Here, too, Plaintiffs allege frequent prisoner-on-prisoner violence, sexual abuse, and use

of excessive force by correctional officers at St. Clair, exacerbated by understaffing, faulty

security measures, and prisoners’ unabated access to drugs and weapons. See Plaintiffs’ Motion

(Doc. 457, p. 5–13). Defendants nevertheless claim that the level of violence at St. Clair “falls

within an expected range for a maximum-security facility,” and cite testimony asserting that

“eliminating inmate violence in prison represents an impossible task.” Defendants’ Motion

(Doc. 448, p. 6). The Eighth Amendment does not require prison officials to eliminate every

instance of harm within a facility, but Defendants cannot self-select a constitutionally

permissible level of violence by positing a supposed “expected range” of violent incidents. In

fact, the Eleventh Circuit has declined to set a “proverbial ‘floor’” as to how many violent

incidents or deficient conditions establish an unconstitutional risk of harm. Purcell, 400 F.3d at

1323. Rather, the court has deemed the risk of harm to prisoners substantial when violent

incidents are prevalent and when specific conditions make the facility particularly violent. See

Marbury, 936 F.3d at 1234–35. Plaintiffs here allege that St. Clair prisoners face significant risk

of serious harm because of frequent incidents of violence and ADOC’s failure to remedy known

deficiencies in security and supervision.


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          II.     The Eighth Amendment requires Defendants’ objectively reasonable
                  response to known risks of harm.


         The Constitution forbids Defendants from being deliberately indifferent to a substantial

risk of harm to prisoners in their custody. See Farmer, 511 U.S. at 834. Prison officials are

deliberately indifferent when they “know[] of and disregard[] an excessive risk to inmate health

or safety.” Cox v. Nobles, 15 F.4th 1350, 1358 (11th Cir. 2021) (quoting Farmer, 511 U.S. at

837). The standard entails more than negligence but does not require a showing that “a prison

official acted or failed to act believing that harm actually would befall an inmate.” Id. at 842.

As explained in Farmer, deliberate indifference means the prison official “knows that inmates

face a substantial risk of serious harm and disregards that risk by failing to take reasonable

measures to abate it.” 511 U.S. at 847. In other words, the test “more simply stated, [is]

whether they ‘recklessly disregard[ed]’” the risk. Swain v. Junior, 961 F.3d 1276, 1285 (11th

Cir. 2020) (quoting Farmer, 511 U.S. at 836).

         The Eleventh Circuit has further articulated this standard as requiring “(1) subjective

knowledge of a risk of serious harm; (2) disregard of that risk; (3) by conduct that is more than

mere negligence.” McElligott v. Foley, 182 F.3d 1248, 1255 (11th Cir. 1999). Some Eleventh

Circuit panels have indicated that conduct needs to amount to more than “gross negligence”

instead of “mere negligence” in the third part of this test. See Wade v. McDade, 67 F.4th 1363,

1371–74 (11th Cir. 2023), vacated, 83 F.4th 1332 (11th Cir. 2023). The en banc Eleventh

Circuit currently is considering a case involving allegations of deliberate indifference to

prisoners’ medical needs that may resolve this inconsistency but has not yet issued a decision. 6


6
  Because Wade concerns allegations of failure-to-treat, it is not apparent that the standard ultimately articulated by
the Wade court would apply to failure-to-protect cases like this one. In failure-to-protect cases, the Eleventh Circuit
and this Court generally have applied the standard as originally laid out in Farmer. See, e.g., Cox, 15 F.4th at 1358;


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Wade v. McDade, 83 F.4th 1332 (11th Cir. 2023). Wade should not affect this case, however,

because Plaintiffs’ allegations that Defendants knowingly disregarded a substantial risk of harm

to prisoners at St. Clair, if true, would satisfy the standard for deliberate indifference whether it

is “more than gross negligence” or “more than mere negligence.” Plaintiffs’ Motion (Doc. 457,

pp. 13–15); see Bowen v. Warden Baldwin State Prison, 826 F.3d 1312, 1321, 1324 (11th Cir.

2016) (explaining allegations that prison officials knew about the substantial risk “are not

assertions of mere or even gross negligence”).

        Deliberate indifference has a subjective and objective component. Cox, 15 F.4th at 1358.

The subjective component is that “the defendant actually (subjectively) knew that [the prisoner]

faced a substantial risk of serious harm.” Id. (alteration in original) (quoting Mosley, 966 F.3d at

1270). The objective component is that “the defendant disregarded that known risk by failing to

respond to it in an (objectively) reasonable manner.” Id. (quoting Mosley, 966 F.3d at 1270).

        Defendants do not dispute the subjective component here. They knew that the prisoners

faced a serious risk of harm. Instead, Defendants focus on the objective component—whether

their response to any risk of harm was reasonable. See Defendants’ Motion (Doc. 448, p. 18). In

making that assessment, the Court should consider Defendants’ entire course of conduct in

addressing the risk of harm. See Swain, 961 F.3d at 1287–88. This includes Defendants’ efforts

at mitigating the risk, other reasonable efforts that Defendants could have taken but did not, and

whether Defendants continued measures they knew would be ineffective at addressing the risk of

harm. See LaMarca, 995 F.2d at 1537–39.




Mosley v. Zachery, 966 F.3d 1265, 1270–71 (11th Cir. 2020); Marbury, 936 F.3d at 1233; Caldwell v. Warden, FCI
Talladega, 748 F.3d 1090, 1099 (11th Cir. 2014); Pope v. Dozier, No. 2:20-cv-01399-RDP, 2023 WL 3956157, at
*7 (N.D. Ala. June 12, 2023) (Proctor, J.).

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        Plaintiffs allege Defendants knew of measures they could have taken and still could take

to make St. Clair safer but have stubbornly refused to change their practices despite the ongoing

pervasive violence at St. Clair. Plaintiffs’ Motion (Doc. 457, pp. 1–2, 7–15). Defendants

identify specific actions they claim to have taken, arguing they are not deliberately indifferent

“as to correctional staffing” or to areas allegedly identified by Plaintiffs, such as cameras,

contraband, and locks. See Defendants’ Motion (Doc. 448, pp. 12–31). But the relevant

question is not whether Defendants are deliberately indifferent to any specific action, but rather

whether Defendants are deliberately indifferent to a substantial risk of serious harm to prisoners

in their custody. See Farmer, 511 U.S. at 828. Defendants attempt to disaggregate their actions

and argue here that their alleged efforts to improve staffing levels at St. Clair negate their

responsibility to address any harm alleged by Plaintiffs. See Defendants’ Motion (Doc. 448, pp.

12–21). But “[i]n deliberate-indifference cases, as in life, context matters.” Mosley, 966 F.3d at

1272. The analysis turns on whether Defendants’ “entire course of conduct” in response to that

risk shows deliberate indifference, not whether they took any specific action. Swain, 961 F.3d at

1287–88.

        In determining reasonableness under the Eighth Amendment, courts look at the response,

or lack thereof, compared to the risk of harm. See Farmer, 511 U.S. at 842-45. In LaMarca v.

Turner, 995 F.2d 1526 (11th Cir. 1993), 7 the Eleventh Circuit determined evidence of both the

prison officials’ efforts and the plaintiff’s identified corrective measures were probative of

whether the prison official acted with deliberate indifference. Id. at 1537–38. The prison official




7
 LaMarca was decided before Farmer, but the Eleventh Circuit had already recognized the Supreme Court’s
holding that the Eighth Amendment contains a subjective component, requiring the plaintiff to prove the prison
official possessed knowledge of the infirm condition. See LaMarca, 995 F.2d at 1535; cf. Farmer, 511 U.S. at 837.
LaMarca has therefore been cited as binding authority in the Eleventh Circuit after Farmer. See, e.g., Hale, 50 F.3d
at 1582.

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pointed “to evidence of his actions to improve safety conditions” at the prison, including that he

“attempted to secure additional funds, make improvements to [the prison’s] physical plant,

expand recruitment efforts, and institute policies that would have reduced the risk of violence if

his staff had followed them.” Id. at 1537. The plaintiffs presented evidence that the prison

official “failed to ensure that his direct subordinates followed the polices he established” 8 and

there were “specific, low-cost actions that [the prison official] could have taken and that his

successors successfully undertook.” Id. The plaintiffs also showed that the prison official

“could have, but did not, take steps to minimize” various problems in the prison including:

inadequate staff training; staff not reporting rapes and assaults; failed supervision of staff; not

stationing officers to patrol the dormitories; permitting the obscuring of officers’ vision by

allowing prisoners to hang sheets; failing to employ standard procedures for investigating rapes;

lack of prisoner movement controls; and failing to transfer known assailants out of the prison.

Id. at 1537–38. All this evidence, the court held, “must be considered” when determining

whether prison officials “recklessly disregarded the necessary means to protect inmate safety.”

Id. at 1538.

         Similarly, in Hale v. Tallapoosa County, 50 F.3d 1579 (11th Cir. 1995), the Sheriff

claimed he was not deliberately indifferent to the risk of violence because “he worked toward

construction of a new jail, which, he contend[ed] was the only way to reduce the risk of

violence.” Id. at 1584. The Eleventh Circuit noted that these efforts were relevant to whether

the Sheriff was deliberately indifferent, but “would not necessarily absolve him or the County of



8
  “A supervisors’ conscious refusal to enforce a policy is identical to the absence of that policy.” McCarley v. Dunn,
--- F. Supp. 3d ----, No. 4:21-cv-570-LSC, 2024 WL 993884, at *9 (N.D. Ala. 2024) (citing Ingram v. Kubik, 30
F.4th 1241, 1255–56 (11th Cir. 2022)); see also Wilson v. Dunn, 618 F. Supp. 3d 1253, 1276 (N.D. Ala. 2022)
(“The ADOC Officials’ mere enactment of a directive that their own subordinates notified them was never
implemented or enforced reflects that they ‘recklessly disregarded the necessary means to protect inmate safety.’”
(quoting LaMarca, 995 F.2d at 1538)).

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liability.” Id. Rather, the Sheriff could still be found deliberately indifferent if a jury found he

disregarded “‘alternative means’ or interim measures for reducing the risk of violence such as

those advanced by [the plaintiff].” Id. (quoting LaMarca, 995 F.2d at 1536). The plaintiff

identified several measures he alleged were reasonable responses to reduce the risk of violence

that the Sheriff did not pursue, including: “classifying and segregating the inmates based on their

likelihood for violence; assigning inmates to cells and bunks rather than letting them choose for

themselves; adequately training jailers; and adequately supervising and monitoring the inmates.”

Id. at 1583. Taken together, the Eleventh Circuit determined there was sufficient evidence for

the plaintiff to go the jury on whether the Sheriff and the County were deliberately indifferent.

Id. at 1584.

       Defendants mistakenly assert that their response to the risk of harm is only

unconstitutional if it is “conscience-shocking.” Defendants’ Motion (Doc. 448, p. 22) (citing

Hoffer v. Sec’y, Fla. Dep’t of Corr., 973 F.3d 1263, 1272 (11th Cir. 2020)). But that

“conscience-shocking” standard comes from medical treatment cases, which apply a different

measure than applied in failure-to-protect cases. The Eleventh Circuit has emphasized that

medical treatment in a carceral setting “‘violates the [E]ighth [A]mendment only when it is so

grossly incompetent, inadequate, or excessive as to shock the conscience or to be intolerable to

fundamental fairness.’” Hoffer, 973 F.3d at 1277 (alterations in original) (quoting Harris v.

Thigpen, 941 F.2d 1495, 1505 (11th Cir. 1991)). The court has applied that high standard to

avoid imposing liability under the Eighth Amendment for disagreements over medical

judgment. See Hoffer, 973 F.3d at 1273 (“Because the plaintiffs here are receiving medical

care—and because the adequacy of that care is the subject of genuine, good-faith disagreement

between healthcare professionals—we are hard-pressed to find that the Secretary has acted in so



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reckless and conscience-shocking a manner as to have violated the Constitution.”); Brown v.

McClure, 849 F. App’x 837, 840-41 (11th Cir. 2021) (same); Hammonds v. Theakston, 833 F.

App’x 295, 300–02 (11th Cir. 2020) (same). Here, the question does not involve medical

treatment, much less medical judgment. It involves Defendants’ failure to protect plaintiffs from

violence. The Court should look to failure-to-protect precedent. See, e.g., LaMarca, 995 F.2d at

1536; Hale, 50 F.3d at 1584.

       The Constitution does not require that all harm be averted; therefore, an analysis of the

objective reasonableness of a response cannot turn exclusively on the outcome. See Farmer, 511

U.S. at 844. Outcomes, however, are still relevant to the extent Defendants continued to respond

in a manner they knew was ineffective, when alternative measures were known and available.

Defendants contend they are not deliberately indifferent because ADOC officials allegedly did

their best, like the jail officials in Swain v. Junior, 961 F.3d 1276 (11th Cir. 2020), a medical

case about the conditions of confinement in a Miami jail during the COVID-19 outbreak.

Defendants’ Motion (Doc. 448, p. 18). Swain, however, stands for the narrow proposition that a

court cannot evaluate deliberate indifference based solely on outcomes or require impossible

measures. The Eleventh Circuit explained it was error for the district court to “assume a state of

affairs in which [the jail officials] had taken numerous measures to combat the virus,” but find

them deliberately indifferent solely because the rate of COVID-19 infections had increased, and

because the jail failed to implement seemingly impossible social distancing. Swain, 961 F.3d at

1287. In evaluating deliberate indifference, the Eleventh Circuit explained the court “must focus

not on isolated failures—or impossibilities, as the case may be—but rather on the defendant’s

entire course of conduct.” Id. at 1287–88. The Eleventh Circuit then detailed all the steps the

jail had taken to mitigate the risk of harm from COVID-19 and noted the absence of any finding



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that “defendants knew of any potential lapses in enforcement [of policies and procedures] and

deliberately ignored them.” Id. at 1290. Here, Plaintiffs have not held Defendants to an

impossible standard and do allege that Defendants knew their responses to the glut of violence in

the prisons were inadequate and nonetheless failed to act. Swain reinforces the key point

advanced here, that in evaluating deliberate indifference, the court should consider Defendants’

entire course of conduct in addressing the risk of harm.

       While Swain illustrates why deliberate indifference cannot be evaluated solely on

outcomes, that does not mean outcomes are irrelevant in determining a reasonable response or

that any response, even a patently inadequate one, discharges Defendants’ constitutional

obligations. To the contrary, the Eleventh Circuit has explained that “if the evidence showed

that [a prison official] knew of ways to reduce the harm but knowingly declined to act, or that he

knew of ways to reduce the harm but recklessly declined to act,” then a jury could find the prison

official failed to reasonably respond. Hale, 50 F.3d at 1583. There is a balance between

requiring the impossible and requiring that prison officials respond reasonably: “if an official

attempts to remedy a constitutionally deficient prison condition, but fails in that endeavor, he

cannot be deliberately indifferent unless he knows of, but disregards an appropriate and

sufficient alternative.” LaMarca, 995 F.2d at 1536 (emphasis added). Where there is evidence

that “the actions [the prison officials] undertook would be insufficient to provide inmates with

reasonable protection from violence, and that other means were available to him which he

nevertheless disregard,” then the prison officials can be found deliberately indifferent to the risk

of harm. Id. at 1539. Even in a non-binding case relied on by Defendants, where the Seventh

Circuit found the prison officials were not deliberately indifferent, the Seventh Circuit

distinguished those facts from a case “in which prison officials persisted in taking steps they



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knew were insufficient to prevent the harm.” Rasho v. Jeffreys, 22 F.4th 703, 711 (7th Cir.

2022); see Defendants’ Motion (Doc. 448, pp. 19–20).

         In assessing whether Defendants responded reasonably to a risk of harm, the Court

should consider all of Defendants’ actions and omissions, including whether they continued

ineffective measures while disregarding available means to mitigate the harm. See, e.g.,

Ogletree v. Colbert Cnty., Ala., No. 3:18-cv-01218, 2021 WL 4477630, at *44–46 (N.D. Ala.

Sept. 30, 2021) (denying summary judgment where a reasonable juror could find the defendants

were deliberately indifferent, in part because “they knew about, but declined to implement,

reasonable alternative measures”). Defendants concede that, despite their alleged efforts,

staffing issues persist at St. Clair. Defendants’ Motion (Doc. 448, pp. 20–21). 9 Yet they ask the

Court to reject Plaintiffs’ claims based on their failed attempts, with full knowledge that those

attempts failed. Because Defendants know their efforts have been ineffective at addressing the

violence at St. Clair, they cannot avoid liability without taking other reasonable measures to

mitigate the substantial risk of serious harm to prisoners, such as those identified by Plaintiffs.

         The deliberate indifference standard ensures that prison officials have the “sufficiently

culpable state of mind” to be liable under the Eighth Amendment for cruel and unusual

punishment. Farmer, 511 U.S. at 534 (quoting Wilson, 501 U.S. at 297). The Constitution does

not require prison officials to prevent every instance of harm, but when prison officials continue

to take actions they know are not enough to address substantial harm, when there are known

available alternatives that would mitigate the harm, they objectively are not responding




9
  Defendants also argue that their refusal to implement “Plaintiffs’ preferred solution” does not amount to deliberate
indifference. (Doc. 418, p. 3) (citing Hoffer, 973 F.3d at 1271-72). But Plaintiffs can show deliberate indifference
where Defendants only attempt to implement “solutions” that they know have not resolved the deficiencies.
LaMarca, 995 F.2d at 1536.

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reasonably. They are, therefore, deliberately indifferent and can be held liable under the Eighth

Amendment. 10


                                                   CONCLUSION

         The Eighth Amendment requires that Defendants protect prisoners in their custody from a

substantial risk of serious harm. In recognition of prison officials’ difficult job, the Eighth

Amendment does not require perfect conditions. But people do not lose their constitutional

rights behind prison walls. The Eighth Amendment guarantees humane conditions, which

necessitates that prison officials take reasonable measures to provide for prisoners’ safety.

Defendants violate this right if they fail to respond reasonably to known risks of harm, including

by taking actions they know to be ineffective and refusing to take reasonable actions to mitigate

the harm. The United States respectfully requests that the Court consider this Statement of

Interest in applying the Eighth Amendment to this case.




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   Defendants contend Plaintiffs must establish they were acting unconstitutionally “at the time of summary
judgment.” Defendants’ Motion (Doc. 448, p. 15). Defendants do not expound on this point, but this Court has
established a fact cutoff date in this case, such that “any evidence created after the evidentiary fact cutoff date . . . or
otherwise not disclosed before that date, may not be used in connection with any dispositive motions . . . .” Order
(Doc. 397, p. 2). The Court was within its discretion to set this evidentiary cutoff for an orderly administration of
this case. See Brown v. Plata, 563 U.S. 493, 523 (2011).

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DATED: July 3, 2024




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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2024, I electronically filed the foregoing STATEMENT
OF INTEREST using the CM/ECF system and caused to be served by email a copy of this filing
to counsel of record.


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